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   9
                           UNITED STATES DISTRICT COURT
  10
                         CENTRAL DISTRICT OF CALIFORNIA
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  12
       OCM GROUP USA INC.                         Case No. 2:19-CV-08917-SB (KSx)
  13

  14               Plaintiff,                     [proposed] ORDER
  15
             vs.
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  17
       LIN’S WAHA INTERNATIONAL
       CORP, a New York corporation; and
  18   DOES 1 - 10,
  19
                   Defendants.
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   1
             This Court, having considered the papers submitted by the parties, the facts
   2
       are not in dispute, good cause having been shown, it is hereby ORDERED that:
   3
             Defendant Lin’s Waha International, Inc. is liable for the infringing sales of
   4
       the Branded Products.
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   6
             Plaintiff OCM Group USA, Inc. is entitled to damages of
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             (1) $82,666.59 on the theory of lost profit; alternatively,
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             (2) $24,847 on the theory of unjust enrichment.
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       SO ORDERED.
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  16   Dated:
  17                                                 ______________________
  18                                                 Hon. Stanley Blumenfeld, Jr.
  19                                                 U.S. District Judge
  20                                                  Central District of California
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